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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO


 Criminal Case No. 21-cr-00034-WJM
 UNITED STATES OF AMERICA,
               Plaintiff,
 v.

 1.     MICHAEL SHAWN STEWART, and
 2.     BRYANT EDWIN SEWALL,
               Defendants.


          ORDER REGARDING DISCLOSURE OF GRAND JURY MATERIALS


        Upon consideration of the Government's Motion to Disclose Grand Jury Materials

 under Specified Conditions to Attorneys for the Defendants and the United States

 Probation Office Pursuant to Fed. R. Crim. P. 6(e)(3)(E)(i), it is

        ORDERED that a copy of the transcripts of testimony given before the grand jury

 and other grand jury materials may be disclosed to the attorneys for the defendants and

 the United States Probation Office for preparation for trial or other judicial proceedings

 in this matter.

        IT IS FURTHER ORDERED that:

        1.     Defense counsel make only such copies as are necessary to prepare a

        defense of this criminal case;

        2.     Defense counsel keep a written record concerning how many copies were

        made, to whom those copies were delivered, and the date of delivery, and that

        defense counsel deliver a copy of this Order allowing disclosure with the

        materials;
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      3.     Defense counsel provide the defendants with reasonable access to the

      grand jury materials, but that defense counsel not allow the defendants to retain

      copies of any grand jury materials;

      4.     No person, other than defense counsel, make any copy of the grand jury

      materials for any purpose; and

      5.     At the conclusion of the case in this Court, by entry of the Court’s

      judgment, defense counsel collect all such copies and return them to the

      government within ten days.

      6.     Upon conviction of [the defendant/or more defendants] in this matter, the

      Government is authorized to provide the grand jury materials to the United States

      Probation Office for the limited purpose of preparing a restricted presentence

      investigation report;

      7.     The United States Probation Office shall make only such copies are

      necessary to prepare the restricted presentence investigation report; and

      8.     The United States Probation Officer shall destroy all grand jury materials

      in a manner that will ensure that they are not further disseminated at the

      conclusion of the case in this Court, within ten days of the entry of the judgment.



      Dated this              day of May, 2021, at Denver, Colorado.

                                          BY THE COURT:


                                          ____________________
                                          HON. WILLIAM J. MARTINEZ
                                          United States District Court Judge

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